                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 1 of 31 Page ID #:250



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                                                                          8   MICHAEL TERPIN
                                                                          9
                                                                                                    UNITED STATES DISTRICT COURT
                                                                         10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                         11
                                                                                                            WESTERN DIVISION
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12
       & MACHTINGER LLP




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                                                                              MICHAEL TERPIN,                       Case No. 2:18-cv-06975-ODW-KS
                                                                         14
                                                                                              Plaintiff,            PLAINTIFF’S OPPOSITION TO
                                                                         15                                         THE MOTION TO DISMISS THE
                                                                              v.                                    COMPLAINT OF DEFENDANT
                                                                         16                                         AT&T MOBILITY, LLC.
                                                                              AT&T MOBILITY, LLC; and DOES
                                                                         17   1-25,                                 [Fed. R. Civ. Proc. 12(b)(6)
                                                                         18                   Defendants.           Assigned To:
                                                                                                                    Honorable Otis D. Wright II
                                                                         19
                                                                                                                    Hearing: December 3, 2018
                                                                         20                                         Time: 1:30 p.m.
                                                                                                                    Dept./Place: 350 West 1st Street, 5th
                                                                         21                                                    Floor, Courtroom 5D, Los
                                                                                                                               Angeles, CA 90012
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                                                                                                                              OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 2 of 31 Page ID #:251



                                                                          1                                         TABLE OF CONTENTS
                                                                          2
                                                                                                                                                                                       Page
                                                                          3   I.     INTRODUCTION ........................................................................................... 1
                                                                          4   II.    ARGUMENT .................................................................................................. 1
                                                                          5          A.  Terpin Has Appropriately Alleged Causation for His Claims .............. 1

                                                                          6          B.       Claim 1 Properly Alleges Declaratory Relief ....................................... 4

                                                                          7          C.       Claim 2 Properly Alleges Theft of Customer Proprietary
                                                                                              Information and Customer Proprietary Network Information. ............. 8
                                                                          8          D.       Claim 3 (Cal. Penal Code § 502) is Properly Plead. ........................... 11
                                                                          9          E.       Claims 3-7 and 16 are Properly Plead Because Mr. Terpin Is
                                                                         10                   Resident in California and AT&T’s Actions Affected Him Here. ..... 12
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11          F.       In Claims 4, 5 and 6, Plaintiff Has Plead Entitlement to Relief
                                                                                              under the California UCL. .................................................................. 14
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12          G.       The CLRA Claim Has Been Properly Plead. ...................................... 15
       & MACHTINGER LLP




                                                                         13                   1.   Plaintiff complied with the CLRA Notice and Demand
                                                                                                   Requirements. ........................................................................... 15
                                                                         14
                                                                                              2.     Plaintiff Has Complied with Other CLRA Requirements. ....... 15
                                                                         15          H.       Plaintiff Has Properly Plead Deceit By Concealment. ....................... 17
                                                                         16                   1.     AT&T had a duty to speak. ...................................................... 17
                                                                         17                   2.     Plaintiff Has Properly Plead Reliance. ..................................... 18
                                                                         18          I.       Plaintiff Has Adequately Plead A Claim For Misrepresentation. ...... 19

                                                                         19          J.       Plaintiff’s Fraud and Negligence Claims Are Not Barred by the
                                                                                              Economic Loss Doctrine. .................................................................... 19
                                                                         20          K.       Plaintiff Has Adequately Plead Breach of Implied Contract. ............. 21
                                                                         21          L.       Plaintiff has Adequately Alleged a Claim for Breach of the
                                                                         22                   Implied Covenant of Good Faith and Fair Dealing. ........................... 21

                                                                         23          M.       The Customer Records Act Claim Is Properly Alleged...................... 22

                                                                         24          N.       The Punitive Damages Claim Should Not Be Stricken. ..................... 23
                                                                                              1.   Plaintiff has adequately plead he is entitled to punitive
                                                                         25                        damages. ................................................................................... 23
                                                                         26                   2.
                                                                                             Punitive Damages are Proper for Claims 10-12, and 15-
                                                                                             16. ............................................................................................. 25
                                                                         27   III.   CONCLUSION ............................................................................................. 25
                                                                         28
                                                                                                                                       i              OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 3 of 31 Page ID #:252



                                                                          1                                        TABLE OF AUTHORITIES
                                                                          2   CASES
                                                                          3   Aetna v. Haworth,
                                                                                 300 U.S. 227 (1937) .............................................................................................. 5
                                                                          4
                                                                              Ash v. N. Am. Title Co.,
                                                                          5      223 Cal. App. 4th 1258 (2014) .............................................................................. 1
                                                                          6   AT&T Mobility v. Concepcion,
                                                                                463 U.S. 333 (2011) ........................................................................................ 5, 12
                                                                          7
                                                                              Campodonico v. State Auto Parks, Inc.,
                                                                          8     10 Cal. App. 3d 803 (1970) ................................................................................... 2
                                                                          9   Chanda v. Federal Home Loans Corp.,
                                                                                215 Cal. App. 4th 746 (2013) ................................................................................ 2
                                                                         10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                              City of Colton v. Am. Promotional Events, Inc.-W.,
                                                                         11      614 F.3d 998 (9th Cir. 2010) ................................................................................. 5
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   ExxonMobil Oil Corporation v. Southern California Edison Co.,
       & MACHTINGER LLP




                                                                                 2013 WL 12166214 (C.D.Cal. 2013) .................................................................. 24
                                                                         13
                                                                              Fairbanks v. Super. Ct.,
                                                                         14      46 Cal. 4th 56 (2009) ........................................................................................... 16
                                                                         15   Farrar v. Direct Commerce, Inc.,
                                                                                9 Cal. App. 5th 1257, 1274 (2017) ........................................................................ 6
                                                                         16
                                                                              Ferrington v. McAfee, Inc.,
                                                                         17      2010 WL 3910169 (N.D.Cal. Oct 5, 2010) ......................................................... 16
                                                                         18   Fresno Motors, LLC v. Mercedes Benz USA, LLC,
                                                                                 771 F.2d 1119 (9th Cir. 2014) ............................................................................. 14
                                                                         19
                                                                              Greene v. Sprint Communications Co.,
                                                                         20     340 F.2d 1047 (9th Cir. 2003) ............................................................................... 9
                                                                         21   Grigsby v. Universal Foods Corp.,
                                                                                 999 F.2d 543 (9th Cir. 1993) ............................................................................... 21
                                                                         22
                                                                              Hernandez v. Hilltop Fin. Mortg., Inc.,
                                                                         23     622 F.Supp.2d 842 (N.D.Cal. 2007).................................................................... 15
                                                                         24   In re Adobe Systems, Inc. Privacy Litigation,
                                                                                  66 F.Supp.3d 1197 (N.D.Cal. 2017).................................................................... 17
                                                                         25
                                                                              In re Coleman,
                                                                         26      560 F.3d 1000 (9th Cir. 2009) ............................................................................... 5
                                                                         27   In re iPhone 4S Consumer Litigation,
                                                                                  2013 WL 3829653 (N.D.Cal. 2013) .................................................................... 13
                                                                         28
                                                                                                                                        ii              OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 4 of 31 Page ID #:253



                                                                          1   In Re Tobacco II Cases,
                                                                                 46 Cal. 4th 298 (2009) ......................................................................................... 13
                                                                          2
                                                                              In re Yahoo! Inc. Customer Data Sec. Breach Litig.,
                                                                          3       313 F. Supp. 3d 1113 (N.D.Cal. 2018)......................................................... passim
                                                                          4   In re Yahoo! Inc. Customer Data Security Breach Litigation,
                                                                                  2017 WL 3727318 (N.D.Cal. 2017) .................................................................... 19
                                                                          5
                                                                              Ingle v. Circuit City Stores, Inc.,
                                                                          6      328 F.3d 1165 (9th Cir. 2003) ............................................................................... 6
                                                                          7   Isaacs v. Huntington Memorial Hospital,
                                                                                 38 Cal. 3d 112 (1985) ........................................................................................ 2, 3
                                                                          8
                                                                              J’Aire Corp. v. Gregory,
                                                                          9      24 Cal. 3d 799 (1979) .......................................................................................... 20
                                                                         10   Jesse v. Malcmacher,
GREENBERG GLUSKER FIELDS CLAMAN




                                                                                 2016 WL 9450683 (C.D.Cal. 2016) ...................................................................... 3
                                                                         11
                                                                              Khan v. 7-Eleven, Inc.,
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12     2015 WL 12743691 (C.D.Cal. 2015) .................................................................. 24
       & MACHTINGER LLP




                                                                         13   Luck v. Southern Pac. Transp.,
                                                                                 218 Cal. App. 3d 1 (1990) ................................................................................... 21
                                                                         14
                                                                              Martinez v. Pac. Bell,
                                                                         15     225 Cal. App. 3d 1557 (2003) ............................................................................... 4
                                                                         16   McKinnon v. Dollar Thrifty Automotive Group,
                                                                                2013 WL 791457 (C.D.Cal. 2013) ...................................................................... 15
                                                                         17
                                                                              North American Chemical Co. v. Superior Court,
                                                                         18     59 Cal. App. 4th 764 (1997) ................................................................................ 20
                                                                         19   NuCal Foods, Inc. v. Quality Egg LLC,
                                                                                918 F.Supp. 2d 1023 (E.D.Cal. 2013) ................................................................. 19
                                                                         20
                                                                              O’Keefe v. Inca Floats, Inc.,
                                                                         21     1997 WL 703784 (N.D.Cal. 1997) ........................................................................ 3
                                                                         22   Palmiotto v. America’s Servicing Co.,
                                                                                 2012 WL 12868482 (S.D. 2012) ......................................................................... 16
                                                                         23
                                                                              Pareto v. F.D.I.C.,
                                                                         24     139 F.3d 696 (9th Cir. 1998) ................................................................................. 6
                                                                         25   Paterson v. California Dept. of General Services,
                                                                                 2008 WL 4737118 (E.D.Cal. 2008) .............................................................. 16, 23
                                                                         26
                                                                              People v. Schmies,
                                                                         27     44 Cal. App. 4th 38 (1996) .................................................................................... 3
                                                                         28
                                                                                                                                       iii             OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 5 of 31 Page ID #:254



                                                                          1   Pokorny v. Quixtar, Inc.,
                                                                                601 F.3d 987 (9th Cir. 2010) ................................................................................. 7
                                                                          2
                                                                              Progressive Semiconductor Solutions LLC v. Marvell Semiconductor,
                                                                          3      Inc.,
                                                                                 2014 WL 12581783 (C.D.Cal. 2014) .................................................................. 10
                                                                          4
                                                                              Raulinatis v. Ventura County Sheriff’s Department,
                                                                          5     2014 WL 12685924 (C.D.Cal. 2014) .................................................................. 13
                                                                          6   Riley v. California,
                                                                                 134 S.Ct. 2473 (2014) ......................................................................................... 11
                                                                          7
                                                                              Rios v. City of Bakersfield,
                                                                          8      2011 WL 5554506 (E.D.Cal. 2011) .................................................................... 23
                                                                          9   Rosh v. Cave Imaging Systems, Inc.,
                                                                                26 Cal. App. 4th 1225 (1994) ................................................................................ 2
                                                                         10
GREENBERG GLUSKER FIELDS CLAMAN




                                                                              Seattle Audubon Soc. v. Moseley,
                                                                         11      80 F.3d 1401 (9th Cir. 1996) ................................................................................. 4
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   Siva v. General Tire & Rubber Co.,
       & MACHTINGER LLP




                                                                                 146 Cal App. 3d 152 (1983) ................................................................................ 23
                                                                         13
                                                                              Smith v. Smith,
                                                                         14     45 Cal. 2d 235 (1955) .......................................................................................... 13
                                                                         15   Soule v. General Motors Corp.,
                                                                                 8 Cal. 4th 548 (1994) ............................................................................................. 2
                                                                         16
                                                                              Sprewell v. Golden State Warriors,
                                                                         17      266 F.3d 979 (9th Cir. 2001) ................................................................................. 7
                                                                         18   U.S. ex rel. Innovative Const. Solutions-Norcal v. CH2M Hill
                                                                                 Constructors, Inc.,
                                                                         19      2014 WL 6610999 (E.D.Cal. 2014) .................................................................... 21
                                                                         20   Westlands Water Dist. v. Natural Resources Defense Council, Inc.,
                                                                                276 F. Supp. 2d 1046 (E.D.Cal. 2003) .................................................................. 5
                                                                         21
                                                                              STATUTES
                                                                         22
                                                                              47 U.S.C. § 222.................................................................................................. passim
                                                                         23
                                                                              Cal. Bus. & Prof. Code § 17203 ............................................................................... 14
                                                                         24
                                                                              Cal. Civ. Code §1770................................................................................................ 15
                                                                         25
                                                                              Cal. Civ. Code § 1798.81.5(b) .................................................................................. 22
                                                                         26
                                                                              Cal. Civ. Code § 2338............................................................................................... 12
                                                                         27
                                                                              Cal. Penal Code § 502 .............................................................................................. 11
                                                                         28
                                                                                                                                         iv             OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 6 of 31 Page ID #:255



                                                                          1   Cal. Penal Code § 502(b)(2), (4), and (5) ................................................................. 11
                                                                          2   OTHER AUTHORITIES
                                                                          3   In the Matter of Cox Communications, Inc.
                                                                          4       30 FCC Rcd. 12302 (2015) ....................................................................... 9, 10, 11
                                                                          5
                                                                          6
                                                                          7
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                                                                                                                                    v             OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 7 of 31 Page ID #:256



                                                                          1   I.    INTRODUCTION
                                                                          2         Like its promised cell phone security, the motion to dismiss (“Motion”) of
                                                                          3   Defendant AT&T Mobility, LLC (“Defendant” or “AT&T”) is hollow. Defendant
                                                                          4   violates a host of fundamental rules governing an attack on the adequacy of a
                                                                          5   complaint: not accepting as true the well-pled factual allegations of Plaintiff
                                                                          6   Michael Terpin (“Plaintiff” or “Mr. Terpin”); offering evidence à la a summary
                                                                          7   judgment motion; ignoring material factual assertions; and resorting to conjecture
                                                                          8   and bald factual assertions, among others. And along the way, AT&T ignores
                                                                          9   governing federal and state law and bowdlerizes inapposite case law. The motion
                                                                         10   to dismiss should be denied.
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                                                                         11   II.   ARGUMENT
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12         A.     Terpin Has Appropriately Alleged Causation for His Claims
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                                                                         13         Defendant incorrectly argues that all of Plaintiff’s claims for relief must fail
                                                                         14   because Plaintiff has not properly alleged causation because the harm was caused
                                                                         15   by the “ʻindependent intervening acts of others.’” 1 Motion at 4, quoting Martinez v.
                                                                         16   Pac. Bell, 225 Cal. App. 3d 1557, 1565 (2003). This challenge must fail because
                                                                         17   AT&T improperly states California law, which clearly holds that foreseeable
                                                                         18   intervening events do not absolve a defendant of tort liability.
                                                                         19         As the California Supreme Court has definitively stated, “the defense of
                                                                         20   ‘superseding cause[]’ . . . absolves [the original] tortfeasor, even though his conduct
                                                                         21   was a substantial contributing factor, when an independent event [subsequently]
                                                                         22   intervenes in the chain of causation, producing harm of a kind and degree so far
                                                                         23   beyond the risk the original tortfeasor should have foreseen that the law deems in
                                                                         24
                                                                         25   1
                                                                                The defense of intervening and superseding cause applies only to tort claims and
                                                                              cannot be used as a basis for dismissal of any claims other than Claims 8-12. Ash v.
                                                                         26   N. Am. Title Co., 223 Cal. App. 4th 1258, 1274-75 (2014) (“[t]he defense of
                                                                              intervening and superseding cause applies in tort cases. In contract cases, the
                                                                         27   defense does not absolve the defendant of liability, although closely related is the
                                                                              principle that if the special damages are not foreseeable and proximately caused by
                                                                         28   the breach of contract they are not recoverable.”)
                                                                                                                         1          OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 8 of 31 Page ID #:257



                                                                          1   unfair to hold him responsible.” Soule v. General Motors Corp., 8 Cal. 4th 548,
                                                                          2   573, n. 9 (1994) (emphasis added). “To determine whether an independent
                                                                          3   intervening act was reasonably foreseeable, [courts] look to the act and the nature
                                                                          4   of the harm suffered. To qualify as a superseding cause to relieve the defendant
                                                                          5   from liability for the plaintiff’s injuries, both the intervening act and the results of
                                                                          6   that act must not be foreseeable. Significantly, ‘what is required to be foreseeable
                                                                          7   is the general character of the event of harm . . . not its precise nature or manner of
                                                                          8   occurrence.” Chanda v. Federal Home Loans Corp., 215 Cal. App. 4th 746, 701
                                                                          9   (2013), quoting Bigbee v. Pacific Tel. & Tel. Co., 34 Cal. 3d 49, 57-58 (1983)
                                                                         10   (emphasis added; additional internal citations omitted).
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                                                                         11         The California Supreme Court has further held that “[i]t is of no consequence
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                                                                         12   that the injury to plaintiffs was brought about by the criminal acts of a third person.
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                                                                         13   ‘If the likelihood that a third person may act in a particular manner is the hazard or
                                                                         14   one of the hazards which makes the actor negligent, such an act whether innocent,
                                                                         15   negligent, intentionally tortious, or criminal does not prevent the actor from being
                                                                         16   liable for the harm caused thereby.’” Isaacs v. Huntington Memorial Hospital, 38
                                                                         17   Cal. 3d 112, 131 (1985), quoting Rest.2d Torts § 449 (emphasis added). Indeed, a
                                                                         18   defendant has a legal duty to protect against foreseeable criminal acts.
                                                                         19   Campodonico v. State Auto Parks, Inc., 10 Cal. App. 3d 803, 807 (1970) (“Yet it is
                                                                         20   not the law that one has no duty to protect against foreseeable criminal acts.”)
                                                                         21         California law also clearly holds that “[w]hether an intervening force is
                                                                         22   superseding or not generally presents a question of fact but becomes a matter of law
                                                                         23   where only one reasonable conclusion may be reached.” Chanda, supra (emphasis
                                                                         24   added); see also Rosh v. Cave Imaging Systems, Inc., 26 Cal. App. 4th 1225, 1236
                                                                         25   (1994) (question of whether individual’s numerous unauthorized entries onto
                                                                         26   premises demonstrated defendant’s lax security and foreseeability of harm to
                                                                         27   plaintiff factual question for jury). It is thus improper for Defendant to seek
                                                                         28   dismissal of Plaintiff’s tort claims on this ground because the foreseeability of the
                                                                                                                          2           OPPOSITION TO MOTION TO DISMISS
                                                                     Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 9 of 31 Page ID #:258



                                                                          1   conduct is a factual issue that cannot be determined on a motion to dismiss. See
                                                                          2   Isaacs, 38 Cal. 3d at 135 (jury’s determination of foreseeability can be based on
                                                                          3   “whether the occurrence of prior similar incidents placed the defendant on notice
                                                                          4   that its security measures were not adequate to prevent harm to persons who use the
                                                                          5   defendant’s [services].”) 2
                                                                          6         In this case, AT&T’s security measures were put in place to guard against the
                                                                          7   highly foreseeable and likely act that hackers would actively seek to obtain the
                                                                          8   personal information of AT&T customers. The prevalence of hacking is not only
                                                                          9   highly publicized (and thus generally foreseeable) but was specifically an issue in
                                                                         10   this case because AT&T is statutorily required to guard against hackers to protect
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                                                                         11   customers’ personal information.
                                  Los Angeles, California 90067-4590
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                                                                         12         Moreover, AT&T was specifically put on notice that Mr. Terpin’s account
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                                                                         13   was vulnerable to attack. The January 7, 2018 SIM swap fraud occurred after Mr.
                                                                         14   Terpin had been the victim on June 11, 2017 of a prior fraud of precisely that type.
                                                                         15   Complaint ¶¶ 64-65. After that fraud had occurred, Mr. Terpin had asked for, and
                                                                         16   received assurances of, protection from AT&T to guard against future hacks of that
                                                                         17   type. Id. ¶¶ 66-67. Plaintiff did not switch to another carrier because AT&T
                                                                         18   expressly promised Mr. Terpin additional protections, which it assured him would
                                                                         19   prevent future attacks. Id. ¶¶ 66-69. Given these facts, it is risible for AT&T to
                                                                         20
                                                                         21   2
                                                                                Defendant ignores the significance of the word “independent” in citing to dicta in
                                                                              O’Keefe v. Inca Floats, Inc., 1997 WL 703784, at *4 (N.D.Cal. Oct. 31, 1997), that
                                                                         22   “independent illegal acts of third parties” are “deemed unforeseeable and therefore,
                                                                              the sole proximate cause of the injury which excludes negligence of another as a
                                                                         23   cause of the injury.” (emphasis added). An “independent” act is a term of art under
                                                                              California law meaning an act “so disconnected and unforeseeable as to be a
                                                                         24   superseding cause, i.e., in such a case the defendant’s actthwill be a remote and not
                                                                              the proximate cause.” People v. Schmies, 44 Cal. App. 4 38, 49 (1996) (emphasis
                                                                         25   added), quoting 1 Witkin & Epstein, Cal. Criminal Law § 130, p. 148. Plaintiffs’
                                                                              citation in Jesse v. Malcmacher, 2016 WL 9450683 (C.D.Cal. 2016), to dicta in
                                                                         26   O’Keefe, supra, that “illegal acts of third parties are unforeseeable as a matter of
                                                                              law” unfortunately omits the key word “independent” signifying that the
                                                                         27   intervening act itself must be unforeseeable. This qualifying interpretation of the
                                                                              word “independent” is the only reasoned way to reconcile O’Keefe with the settled
                                                                         28   law cited in these papers.
                                                                                                                        3          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 10 of 31 Page ID #:259



                                                                          1   claim that there was no direct causal link with its lack of security and that the hacks
                                                                          2   were so remote and unforeseeable that they broke the chain of causation,
                                                                          3   particularly because these are classic highly factual issues improperly raised in a
                                                                          4   motion to dismiss.3
                                                                          5         B.     Claim 1 Properly Alleges Declaratory Relief
                                                                          6         Defendant’s attack on Claim 1 for Declaratory Relief should be summarily
                                                                          7   rejected. Plaintiff has plead that he contends that the Agreement is unenforceable
                                                                          8   in its entirety, or in the alternative, specific provisions are unenforceable, and that
                                                                          9   Defendant “undoubtedly disagrees.” Complaint ¶ 97. Defendant apparently seeks
                                                                         10   to dismiss this intensely factual claim at the pleading stage without actually stating
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                                                                         11   whether it agrees or disagrees with Plaintiff’s contentions. Plaintiff’s calculated
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                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   equivocation – akin to having your cake and eat it too -- is no basis for dismissal of
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                                                                         13   the claim at the pleading stage. See Motion at 7:21-8:15.
                                                                         14         Either Defendant agrees or disagrees with Plaintiff’s request that the
                                                                         15   Agreement and several provisions should be found unconscionable—there can be
                                                                         16   no benign neutrality here. If it agrees, the Agreement is unenforceable. On the
                                                                         17   other hand, if AT&T disagrees, a declaratory relief claim is well taken.
                                                                         18         Defendant’s further contention that the issue is not yet ripe or premature is
                                                                         19   mystifying. Again, accepting Plaintiff’s allegations as true as required for a motion
                                                                         20   to dismiss, no basis exists for arguing as a matter of law that the claim is not ripe.
                                                                         21   There is nothing hypothetical or abstract about the dispute. See Seattle Audubon
                                                                         22   Soc. v. Moseley, 80 F.3d 1401, 1405 (9th Cir. 1996) (declaratory relief action
                                                                         23
                                                                         24   3
                                                                                AT&T’s primary authority Martinez is not to the contrary because the court found
                                                                              in that premises liability case that defendant Pacific Bell had no liability for an
                                                                         25   assault which occurred on an adjoining parking lot that it did not own or control.
                                                                              225 Cal. App. 3d at 1564. Moreover, the court stated that “[w]hile the [tortious]
                                                                         26   conduct of third persons might have been foreseeable, defendant’s clear lack of
                                                                              control made it impossible to have instituted preventative measures.” (Emphasis
                                                                         27   added.) Martinez is inapposite because AT&T, unlike Pacific Bell, owned or
                                                                              controlled its own (albeit illusory) security systems. Complaint ¶¶ 48-50, 67.
                                                                         28
                                                                                                                          4           OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 11 of 31 Page ID #:260



                                                                          1   justiciable when there is a substantial controversy between parties with adverse
                                                                          2   legal interests “of sufficient immediacy and reality to warrant the issuance of a
                                                                          3   declaratory judgment”). As alleged in the Complaint, Plaintiff has been harmed in
                                                                          4   numerous ways by Defendant’s actions, is currently asserting claims against AT&T
                                                                          5   based on such harm, is asserting that the Agreement is unenforceable in its entirety,
                                                                          6   and alleges that Defendant disagrees with that contention. 4 See, e.g., Complaint
                                                                          7   ¶¶ 96, 99, 108-109. This is more than sufficient to survive a motion to dismiss.
                                                                          8         The cases cited by Defendant on the issue of ripeness in fact support Plaintiff
                                                                          9   because they all recognized that the plaintiff had plead proper declaratory relief
                                                                         10   claims. See City of Colton v. Am. Promotional Events, Inc.-W., 614 F.3d 998, 1005
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                                                                         11   (9th Cir. 2010) (declaratory relief claim ripe even though party may not yet have
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                                                                         12   incurred “recoverable” response costs); In re Coleman, 560 F.3d 1000, 1008-09,
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                                                                         13   1012 (9th Cir. 2009) (undue hardship determination re student loan obligations can
                                                                         14   be ripe in advance of plan completion in bankruptcy action); Aetna v. Haworth, 300
                                                                         15   U.S. 227, 242, 244 (1937) (dispute between parties in adverse proceeding relating
                                                                         16   to obligations under insurance agreement is judiciable controversy; that “the dispute
                                                                         17   turns upon questions of fact does not withdraw it … from judicial cognizance”).5
                                                                         18         Citing Farrar v. Direct Commerce, Inc., 9 Cal. App. 5th 1257, 1274 (2017),
                                                                         19   Defendant improperly seeks to address the merits of the declaratory relief claim at
                                                                         20
                                                                         21   4
                                                                                It is a matter of record that AT&T has zealously sought to enforce its highly
                                                                              restrictive consumer agreement, even going so far as to obtain a landmark Supreme
                                                                         22   Court case overturning California law invalidating class action arbitration waivers.
                                                                              See AT&T Mobility v. Concepcion, 463 U.S. 333 (2011).
                                                                         23
                                                                              5
                                                                                Defendant’s citation to Westlands Water Dist. v. Natural Resources Defense
                                                                         24   Council, Inc., 276 F. Supp. 2d 1046, 1050-52 (E.D.Cal. 2003), is inapposite
                                                                              because it involved a premature challenge to a proposed administrative action. The
                                                                         25   matter was not ripe because “the contract over which Westlands sues has not even
                                                                              been executed,” the actual terms of the contract are both “contingent future events
                                                                         26   that may not occur as anticipated, or indeed may not occur at all,” and the plaintiff
                                                                              “concedes that the contract terms at issue are “tentative.” Id. at 1051, 1052. In
                                                                         27   contrast, the AT&T consumer agreement here is executed, no future contingency
                                                                              must occur, and Plaintiff has an active, contested dispute over the enforceability of
                                                                         28   the agreement.
                                                                                                                        5           OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 12 of 31 Page ID #:261



                                                                          1   this pleading stage by claiming (without any factual support) that (1) Plaintiff has
                                                                          2   failed to allege unconscionability sufficient to invalidate the entire agreement and
                                                                          3   (2) the unconscionable provision or provisions are severable. 6 Farrar provides
                                                                          4   utterly no basis for dismissing Plaintiff’s declaratory relief claim on a motion to
                                                                          5   dismiss, particularly because the Complaint’s plentiful, detailed allegations are to
                                                                          6   be accepted as true and all reasonable inferences drawn in favor of Plaintiff. Pareto
                                                                          7   v. F.D.I.C., 139 F.3d 696, 699 (9th Cir. 1998).
                                                                          8         Moreover, Defendant raises the issues of unenforceability here in a very
                                                                          9   different context. In Farrar, on a motion to compel arbitration, the parties
                                                                         10   presented the court with factual evidence regarding numerous matters relating to the
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                                                                         11   unenforceability of the provision, including whether the plaintiff had an opportunity
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                                                                         12   to negotiate the arbitration provision as well as other matters relating to the
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                                                                         13   “commercial setting, purpose and effect” of the contract or contract provision.
                                                                         14   Farrar, 9 Cal. App. 5th at 1267-1270, quoting Cal. Civ. Code §1670.5, Legis.
                                                                         15   Comm. Comments, n.2. Based on the evidence presented, the court affirmed the
                                                                         16   trial court’s finding that the arbitration provision was substantively unconscionable
                                                                         17   because it included a carve-out of trade secret claims. Id. at 1273. However, the
                                                                         18   court found that the trial court abused its discretion because the offending portion of
                                                                         19   the arbitration clause was severable. Id. at 1274-75.
                                                                         20         In stark contrast to Farrar, Defendant’s challenge to Claim 1 is presented on
                                                                         21   a motion to dismiss, where neither party has had any opportunity to discover or
                                                                         22   present any evidence, including evidence regarding the context of the contract and
                                                                         23   provisions at issue. Moreover, the carve-out of any provisions from the contract
                                                                         24
                                                                         25   6
                                                                                Defendant’s reliance on Farrar fails to acknowledge that, on the issue of
                                                                              severance, the existence of “more than one unlawful provision” is a factor that
                                                                         26   weighs against severance of unconscionable terms as a means of saving an
                                                                              agreement. Farrar, 9 Cal. App. 5th at 1274. Here, Defendant specifically
                                                                         27   acknowledges that there are a “handful of allegedly unenforceable provisions” at
                                                                              issue. Motion at 8:7-10; see also Ingle v. Circuit City Stores, Inc., 328 F.3d 1165,
                                                                         28   1180 (9th Cir. 2003) (declining to sever unconscionable terms).
                                                                                                                         6            OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 13 of 31 Page ID #:262



                                                                          1   here would be premature because Defendant has not advanced any argument or
                                                                          2   evidence regarding the provisions that it believes are severable.
                                                                          3         In contrast to Defendant’s strategic silence, which seems calculated to try to
                                                                          4   get two bites of the judicial apple, Plaintiff has substantiated Claim 1 with more
                                                                          5   than twenty paragraphs of supporting allegations over eight pages of the Complaint
                                                                          6   that demonstrate that procedural and substantive unconscionability permeate the
                                                                          7   core and defeat the entire purpose of the Agreement. See Complaint ¶¶ 80-101. 7
                                                                          8         Plaintiff’s detailed allegations have raised abundant facts showing that a
                                                                          9   plethora of contractual terms are procedurally and substantively unconscionable.
                                                                         10   Pokorny v. Quixtar, Inc., 601 F.3d 987, 996 (9th Cir. 2010); see also In re Yahoo!
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                                                                         11   Inc. Customer Data Sec. Breach Litig. (“Yahoo II”), 313 F. Supp. 3d 1113, 1136-
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                                                                         12   1137 (N.D.Cal. 2018) (holding that plaintiffs had properly alleged sufficient facts
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                                                                         13   regarding procedural and substantive unconscionability sufficient to withstand a
                                                                         14   motion to dismiss). Given the obligation to read the Complaint in the light most
                                                                         15   favorable to the nonmoving party, the Court should deny Defendant’s attempt to
                                                                         16   dismiss Claim 1. See Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th
                                                                         17   Cir. 2001) (court should accept allegations as true and draw all reasonable
                                                                         18   inferences in favor of Plaintiff).
                                                                         19
                                                                         20
                                                                         21
                                                                         22   7
                                                                                In those allegations, Plaintiff (a) alleges AT&T’s consumer contract was a classic
                                                                              adhesion contract presented on a take-it-or-leave-it basis with no ability of Plaintiff
                                                                         23   to negotiate its terms; (b) alleges that the Agreement contains provisions that
                                                                              would exempt Defendant from liability for its own gross negligence, fraud, and
                                                                         24   violations of law; (c) cites a provision purporting to exempt Defendant from
                                                                              violation of numerous statutory and other obligations, even, pursuant to its plain
                                                                         25   language, if Defendant’s actions were willful; (d) challenges a provision putatively
                                                                              acting as a waiver of damages and a damages restriction that is plainly
                                                                         26   unconscionable and against public policy and (e) cites provisions that seek to
                                                                              impose an indemnification obligation on the customer (i.e., Plaintiff) that would
                                                                         27   require him to indemnify Defendant for intentional acts directed at Plaintiff, as well
                                                                              as an unconscionable arbitration provision. See Complaint ¶¶ 82-83, 85, 87-98.
                                                                         28
                                                                                                                         7          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 14 of 31 Page ID #:263



                                                                          1            C.    Claim 2 Properly Alleges Theft of Customer Proprietary
                                                                          2                  Information and Customer Proprietary Network Information.
                                                                          3            In his second claim for relief under Section 222(a) of the Federal
                                                                          4   Communications Act, Plaintiff alleges that AT&T violated its obligation to protect
                                                                          5   the confidentiality of customers’ proprietary information (“CPI”) and customers’
                                                                          6   proprietary network information (“CPNI”) by disclosing such information to
                                                                          7   hackers on January 7, 2018. Such information included Mr. Terpin’s wireless
                                                                          8   telephone number, account information and his private and proprietary information
                                                                          9   that allowed access to his online accounts. Complaint ¶ 108.
                                                                         10            AT&T argues that Claim 2 should be dismissed because the information
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                                                                         11   disclosed was not CPNI under Section 222(a) since it allegedly did not include the
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                                                                         12   “quantity, technical configuration, type, destination, location and amount of use of a
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                                                                         13   telecommunications service subscribed to by any customer of a telecommunications
                                                                         14   carrier and that is made available solely by virtue of the carrier-customer
                                                                         15   relationship.” 47 U.S.C. § 222(h)(1).
                                                                         16            In arguing that the SIM swap fraud perpetrated on Mr. Terpin did not involve
                                                                         17   CPNI, AT&T ignores the fact that when hackers obtained access to Mr. Terpin’s
                                                                         18   telephone account, they gained complete and unfettered access to all his telephone
                                                                         19   calls, text messages, and other online information regarding his use of a
                                                                         20   telecommunication service. In an era when a mobile telephone is no longer just a
                                                                         21   communications device, but a mobile computer,8 it is hard to fathom a greater
                                                                         22   privacy violation than having a telephone commandeered by hackers who then can
                                                                         23   not only access but control a customer’s communications. 9
                                                                         24            Even more significantly, AT&T ignores the fact that Plaintiff has also alleged
                                                                         25   that AT&T violated the consumer protections of Section 222(a) of the FCA by
                                                                         26
                                                                              8
                                                                                  See Section II(D), infra.
                                                                         27
                                                                              9
                                                                               Of course, the issues relating to what precise CPNI was accessed by the hackers
                                                                         28   are factual in nature and not properly raised on a motion to dismiss.
                                                                                                                          8          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 15 of 31 Page ID #:264



                                                                          1   participating in a fraud that allowed hackers to access not only Mr. Terpin’s CPNI
                                                                          2   but also his personal information or customer proprietary information or “CPI.” See
                                                                          3   Complaint ¶¶ 23, 29-31, 107-108. Although Defendant claims that Plaintiff’s use
                                                                          4   of the abbreviation “CPI” is novel, the FCC has frequently held that the scope of
                                                                          5   privacy protections afforded by Section 222(a) is broader than CPNI. See In the
                                                                          6   Matter of Cox Communications, Inc. (“Cox Communications”), 30 FCC Rcd.
                                                                          7   12302, 12307 (2015)10 (Consent Decree at Section II ¶ 4) (FCC “has interpreted
                                                                          8   Section 222(a) as applying to customer ‘proprietary information’ that does not fit
                                                                          9   within the statutory definition of CPNI”) (emphasis added). The FCC’s
                                                                         10   authoritative interpretation of the FCA is entitled to deference because “the FCC is
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                                                                         11   the agency that is primarily responsible for the interpretation and implementation of
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                                                                         12   the Telecommunications Act and its own regulations.” Greene v. Sprint
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                                                                         13   Communications Co., 340 F.2d 1047, 1052 (9th Cir. 2003).
                                                                         14         The FCC has further held that “proprietary information [under Section
                                                                         15   222(a)] broadly encompasses all types of information that should not be exposed
                                                                         16   widely to the public, whether that information is sensitive for economic or personal
                                                                         17   privacy reasons and that includes privileged information, trade secrets and
                                                                         18   personally identifiable information.” Cox Communications as 12307 (emphasis
                                                                         19   added). The FCC has broadly defined “personal information” that is protected
                                                                         20   under Section 222(a) as including “(1) an individual’s first name or first initial and
                                                                         21   last name in combination with any one or more of . . . (C) account number, credit
                                                                         22   or debit card number, in combination with any required security code, access code,
                                                                         23   PIN or password that would permit access to an individual’s financial account; or
                                                                         24   (2) a user name or email address in combination with a password or security
                                                                         25   question and answer that would permit access to an online account.” Id. at 12306-
                                                                         26   12307 (Section I ¶ 2(s) (defining “Personal Information”)) (emphasis added).
                                                                         27
                                                                              10
                                                                                For the convenience of the Court, a copy of Cox Communications is concurrently
                                                                         28   submitted as Exhibit “A” to this opposition.
                                                                                                                         9          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 16 of 31 Page ID #:265



                                                                          1   Plaintiff thus uses the term “CPI” in the Complaint to include information that does
                                                                          2   not explicitly fall within the category of CPNI, including a broad range of
                                                                          3   nonetheless protected customer proprietary and “Personal Information.”11
                                                                          4         Defendant is further incorrect that Section 222(a) cannot encompass the type
                                                                          5   of unauthorized access to personal information through SIM swap fraud. The FCC
                                                                          6   has frequently interpreted Section 222(a) broadly to protect consumers against
                                                                          7   compromise of any personal or proprietary information. For example, the FCC has
                                                                          8   ruled that telecommunications providers violate Section 222(a) by allowing hackers
                                                                          9   through the common ploy of “pretexting” to access customers’ sensitive
                                                                         10   information -- including personal information, phone numbers and online accounts.
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                                                                         11   See Complaint ¶¶ 29-20 (citing and quoting FCC Pretexting Order); see also Cox
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                                                                         12   Communications at 12302-04.
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                                                                         13         Under the FCC’s authoritative precedents, the Complaint alleges that Section
                                                                         14   222(a) is applicable to SIM Swap fraud for the reasons provided by the FCC in
                                                                         15   pretexting cases, including the 2015 Order in Cox Communications. As the FCC
                                                                         16   stated in that order,
                                                                         17          [i]nadequate security of subscribers’ personal information can result in
                                                                         18          real world consequences for those customers, who are put at risk of
                                                                         19          financial and digital identity theft. In the wrong hands, a customer’s
                                                                         20          sensitive personal information could be used to take control of a
                                                                         21          customer’s real accounts, to change the passwords on those accounts,
                                                                         22          to expose the customer’s personal information on the webs, and to
                                                                         23          harass or embarrass the customer through social media.
                                                                         24   Id. at 12302.
                                                                         25         At this stage of these proceedings, Plaintiff’s allegations must be accepted as
                                                                         26
                                                                         27   11
                                                                                To the extent that the allegations relating to CPI are not sufficiently explicit,
                                                                              Plaintiff seeks leave to amend the Complaint to further clarify its definition to
                                                                         28   conform to the usage of such terms by the FCC.
                                                                                                                         10          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 17 of 31 Page ID #:266



                                                                          1   true, subject to the development of further facts through discovery. Progressive
                                                                          2   Semiconductor Solutions LLC v. Marvell Semiconductor, Inc., 2014 WL 12581783
                                                                          3   at *1 (C.D.Cal. 2014) (accepting plaintiff’s allegations as true at pleading stage
                                                                          4   without benefit of discovery) (Wright, J.)
                                                                          5         Under FCC precedent, Plaintiff has properly alleged that the information
                                                                          6   accessed by the hackers through the SIM swap fraud was personal and proprietary
                                                                          7   information, including CPI and CPNI, under Section 222(a). As the FCC stated in
                                                                          8   Cox Communications, the hackers in Mr. Terpin’s case used such information to
                                                                          9   inflict very substantial “real world” damages on Plaintiff, including financial and
                                                                         10   digital identity theft” that led to the loss of almost $24 million worth of
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                                                                         11   cryptocurrency. Cox Communications at 12302.
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                                                                         12         D.     Claim 3 (Cal. Penal Code § 502) is Properly Plead.
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                                                                         13         In the Complaint, Plaintiff alleges that hackers were able to gain complete
                                                                         14   control of his mobile telephone to use it to intercept calls and messages and to
                                                                         15   access files that allowed them to steal his crypto currency. Complaint ¶¶ 71-79,
                                                                         16   112-119. Under the applicable definitions 12 in Penal Code § 502, mobile
                                                                         17   telephones are self-evidently computers and part of a “computer system” or
                                                                         18   “computer network” because they communicate with one another and allow access
                                                                         19   to outside networks, such as the Internet, electronic mail, messaging and other
                                                                         20   services. See also Riley v. California, 134 S.Ct. 2473, 2489 (2014) (“The term
                                                                         21
                                                                              12
                                                                                 Cal. Penal Code § 502 defines “computer system” as “a device or collection of
                                                                         22   devices, including support devices and excluding calculators that are not
                                                                              programmable and capable of being used in conjunction with external files, one or
                                                                         23   more of which contain computer programs, electronic instructions, input data, and
                                                                              output data, that performs functions, including but not limited to logic, arithmetic,
                                                                         24   data storage and retrieval, communication and control.” “Computer services” are
                                                                              defined as including, but not limited to “computer time, data processing, or storage
                                                                         25   functions, Internet functions, electronic mail services, electronic message services,
                                                                              or other uses of a computer, computer system or computer network.” A “computer
                                                                         26   network” is defined as “any system that provides communications between one or
                                                                              more computer systems and input/output devices, including, but not limited to
                                                                         27   display terminals, remote systems, mobile devices, and printers connected by
                                                                              telecommunications facilities.” Cal. Penal Code § 502(b)(2), (4), and (5) (emphasis
                                                                         28   added).
                                                                                                                         11          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 18 of 31 Page ID #:267



                                                                          1   ‘cell phone’ is itself misleading shorthand; many of these devices are in fact
                                                                          2   minicomputers that happen to have the capacity to be used as a telephone.”)
                                                                          3         Plaintiff also properly alleges that Defendant “knowingly” assisted the
                                                                          4   hackers in the proscribed acts. As alleged in the Complaint, Plaintiff informed
                                                                          5   AT&T that he had been a victim of SIM swap fraud in June 2017. Complaint ¶¶
                                                                          6   66-70. AT&T then placed a six-digit code on Mr. Terpin’s account to provide
                                                                          7   additional protection against such an occurrence happening again. Id. Despite
                                                                          8   these alleged precautions, Mr. Terpin was again victimized by SIM swap fraud in
                                                                          9   January 2018. Id. ¶¶ 71-77. Moreover, Mr. Terpin has alleged that AT&T
                                                                         10   employees knowingly participated in the fraud, including bypassing the
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                                                                         11   requirement that anyone seeking access to Mr. Terpin’s account have the six-digit
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                                                                         12   code. Id. ¶ 74-77. Mr. Terpin’s allegations that AT&T employees actively
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                                                                         13   participated in the hack are further bolstered by later press and law enforcement
                                                                         14   statements that employees engaged in similar acts. Id. ¶¶ 52-63.
                                                                         15         Plaintiff’s allegations regarding Defendant’s knowing assistance of the
                                                                         16   hackers must be taken as true. The full extent of AT&T’s active cooperation with
                                                                         17   the hackers is a matter for discovery, as is its knowledge of other similar frauds.13
                                                                         18         E.     Claims 3-7 and 16 are Properly Plead Because Mr. Terpin Is
                                                                         19                Resident in California and AT&T’s Actions Affected Him Here.
                                                                         20         Plaintiff has properly alleged that he owns a residence in California and that
                                                                         21   his contract with AT&T is governed by California law. Complaint ¶¶ 1-2.
                                                                         22   Although Mr. Terpin is indeed domiciled in Puerto Rico, it is clear under California
                                                                         23
                                                                              13
                                                                                AT&T’s extraordinary claim that it may not be liable for the fraud because the
                                                                         24   employee in question “worked for Spring Communications Holding, Inc., which is
                                                                              an independent contractor of AT&T” lacks factual support and is entirely irrelevant
                                                                         25   to a motion to dismiss. Motion at 3 n. 4. Needless to say, even if the unsupported
                                                                              assertion in the footnote is true, Plaintiff vigorously disputes the preposterous claim
                                                                         26   that AT&T is not liable for the tortious and criminal acts of its contractors
                                                                              (agents)—particularly where, as here, they are alleged to have acted in concert with
                                                                         27   hackers in that AT&T branded stores to avoid the protections AT&T placed on an
                                                                              account of an AT&T customer. See, e.g., Cal. Civ. Code § 2338 (principal
                                                                         28   responsible to third parties for negligent and wrongful acts of agent).
                                                                                                                        12          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 19 of 31 Page ID #:268



                                                                          1   law that he can claim the remedial benefits of the UCL and CLRA statutes as a
                                                                          2   California resident and an individual obtaining wireless services from AT&T in this
                                                                          3   state.
                                                                          4            The UCL and CLRA do not specifically define “resident.” As the California
                                                                          5   Supreme Court has concluded, “[r]esidence, as used in the law, is a most elusive
                                                                          6   and indefinite term.” Smith v. Smith, 45 Cal. 2d 235, 240 (1955). In some
                                                                          7   instances, such as in Smith itself, “residence” means “domicile,” i.e., “the one
                                                                          8   location with which for legal purposes a person is considered to have the most
                                                                          9   settled and permanent connection, the place where he intends to remain and to
                                                                         10   which, whenever he is absent, he has the intention of returning.” Id. at 239. In
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                                                                         11   other cases, “residence” may mean “any factual place of abode of some
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                                                                         12   permanency, more than a mere temporary sojourn.” Id.
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                                                                         13            Because the meaning of “residence” is not uniform, “its meaning in any
                                                                         14   particular statute must be determined by considering the purpose of the act.”
                                                                         15   Raulinatis v. Ventura County Sheriff’s Department, 2014 WL 12685924 at *12
                                                                         16   (C.D.Cal. 2014), citing Smith at 240-43. In the case of the UCL and CLRA, which
                                                                         17   are meant to promote the “larger purpose of protecting the general public against
                                                                         18   unscrupulous business practices” and which have been held to protect even non-
                                                                         19   California residents, “residence” must be broadly construed. In Re Tobacco II
                                                                         20   Cases, 46 Cal. 4th 298, 312 (2009).
                                                                         21            Numerous federal courts have held that both California’s Unfair Competition
                                                                         22   Law and Consumer Legal Remedies Act apply even to non-residents when the
                                                                         23   alleged fraudulent activity of the defendant emanated from California. See In re
                                                                         24   iPhone 4S Consumer Litigation, No. C12-1127 CW, 2013 WL 3829653 (N.D.Cal.
                                                                         25   July 23, 2013). In this case, Plaintiff has alleged a broad course of conduct
                                                                         26   involving AT&T –not just incidents taking place outside of the state. Plaintiff has
                                                                         27   further alleged that this conduct (the entire scope of which involved actions
                                                                         28   extending to California) was directed at Plaintiff, who has a residence in California
                                                                                                                        13          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 20 of 31 Page ID #:269



                                                                          1   and who entered into a contract for services with Defendant in California.
                                                                          2   Complaint at ¶¶ 1-2, 65, 71-76, 128-30, 138-42, 153. At the pleading stage, these
                                                                          3   allegations are sufficient to state a claim under the UCL and CLRA.
                                                                          4         F.     In Claims 4, 5 and 6, Plaintiff Has Plead Entitlement to Relief
                                                                          5                under the California UCL.
                                                                          6         Plaintiff has adequately plead the elements of Claims 4-6 under the
                                                                          7   California UCL. As Defendant’s own authorities demonstrate, Plaintiff may obtain
                                                                          8   both restitution and injunctive relief under Cal. Bus. & Prof. Code § 17203,
                                                                          9   including “money or property lost by the plaintiff and acquired by the defendant.”
                                                                         10   Fresno Motors, LLC v. Mercedes Benz USA, LLC, 771 F.2d 1119, 1135 (9th Cir.
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                                                                         11   2014).
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                                                                         12         In the Complaint, Plaintiff alleges that he “lost the benefit of his bargain for
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                                                                         13   his purchased services from AT&T that he would not have paid if he had known the
                                                                         14   truth regarding AT&T’s inadequate data security” and further seeks injunctive
                                                                         15   relief. See Complaint ¶¶130-131, 143, 154 (seeking “restitution, disgorgement of
                                                                         16   wrongfully obtained profits, and injunctive relief”). Plaintiff’s claims thus fully
                                                                         17   conform to the UCL.
                                                                         18         Defendant is also incorrect that Plaintiff’s claims are implausible because
                                                                         19   there are no allegations that AT&T acquired funds or “could have benefited from
                                                                         20   the supposed criminal scheme of unknown hackers.” As Plaintiff clearly alleges, he
                                                                         21   did not receive the benefit of his bargain for the mobile telephone services provided
                                                                         22   to him as a subscriber for many years because AT&T’s security was inadequate to
                                                                         23   protect his personal information. See, e.g., Complaint ¶¶ 1, 69, 125-30. Plaintiff
                                                                         24   has thus properly identified the funds in AT&T’s hands that are subject to
                                                                         25   disgorgement and Defendant’s attack on these claims fails.
                                                                         26
                                                                         27
                                                                         28
                                                                                                                        14          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 21 of 31 Page ID #:270



                                                                          1         G.      The CLRA Claim Has Been Properly Plead.
                                                                          2                1.     Plaintiff complied with the CLRA Notice and Demand
                                                                          3                       Requirements.
                                                                          4         Defendant’s attack on Claim 7 (CLRA) must fail for the incontrovertible
                                                                          5   reason that Plaintiff provided Defendant with notice of this claim on March 19,
                                                                          6   2018—almost five months before the Complaint was filed on August 15, 2018. If
                                                                          7   AT&T insists on ignoring this notice (which was made to the General Counsel of
                                                                          8   AT&T, Inc.), Plaintiff will include an allegation in an amended complaint that it
                                                                          9   complied with the CLRA notice and demand requirements. See McKinnon v.
                                                                         10   Dollar Thrifty Automotive Group, 2013 WL 791457 at *6 (C.D.Cal. 2013) (purpose
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                                                                         11   of notice provision “to ensure that Defendants are aware of alleged wrongdoing and
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                                                                         12   given an opportunity to correct it before they are sued”).
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                                                                         13                2.     Plaintiff Has Complied with Other CLRA Requirements.
                                                                         14         Defendant is also incorrect that Plaintiff has not properly plead that AT&T’s
                                                                         15   false representations involve “goods” or “services.” The Complaint conspicuously
                                                                         16   alleges that Defendant made false representations regarding the security of his
                                                                         17   personal information in connection with the mobile telephone services that it
                                                                         18   provided to Mr. Terpin. See, e.g., Complaint ¶¶ 45-51, 66-70, 128, 136, 160-62.
                                                                         19         Under the plain language of the CLRA, the provision of telecommunications
                                                                         20   facilities is indeed “services.” The CLRA authorizes a plaintiff to bring a claim
                                                                         21   under the CLRA when “any person” uses a statutorily prohibited trade practice “in
                                                                         22   a transaction . . . which results in the sale or lease of goods or services to any
                                                                         23   consumer.” Cal. Civ. Code §1770. The CLRA defines “services” as “work, labor
                                                                         24   and services for other than a commercial or business use, including services
                                                                         25   furnished in connection with the sale or repair of goods.” Id. at § 1761(b).
                                                                         26         Courts have adopted a broad view of what constitutes “services” under the
                                                                         27   CLRA in conformity with the CLRA’s mandate that it “shall be liberally construed
                                                                         28   and applied to promote its underlying purposes, which are to protect consumers
                                                                                                                         15           OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 22 of 31 Page ID #:271



                                                                          1   against unfair and deceptive business practices and to provide efficient and
                                                                          2   economical procedures to secure such protections.” Id. at § 1760. For example, in
                                                                          3   Hernandez v. Hilltop Fin. Mortg., Inc., the court found that the provision of
                                                                          4   mortgage loans was a “service.” 622 F.Supp.2d 842, 849-50 (N.D.Cal. 2007). The
                                                                          5   services provided by AT&T are clearly different from the provision of life
                                                                          6   insurance by contract (Fairbanks v. Super. Ct., 46 Cal. 4th 56, 61 (2009)) or
                                                                          7   software, which the court in Ferrington v. McAfee, Inc., 2010 WL 3910169 at *19
                                                                          8   (N.D.Cal. Oct 5, 2010) found is not a service. In contrast, AT&T provides what are
                                                                          9   undoubtedly described generally as telecommunications or wireless “services”
                                                                         10   (often provided in conjunction with the sale of a mobile telephone). See Exhibit B
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11   to the Complaint (AT&T Privacy Policy) “Our Privacy Policy applies to your use
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                                                                         12   of all products, services and websites offered by AT&T . . . .”) (emphasis added);
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                                                                         13   Exhibit D to the Complaint (Wireless Customer Agreement) defining “services
                                                                         14   (including content and other AT&T services included with your wireless service)”
                                                                         15   as “Services” (emphasis added); cf. Yahoo II, 313 F.Supp. 3d at 1142 (finding that
                                                                         16   Plaintiffs have adequately alleged that Yahoo provided a “service” to Plaintiffs by
                                                                         17   providing e-mail service through accounts on a web-based platform).
                                                                         18         Plaintiff’s allegations regarding the CLRA violations set forth in Paragraph
                                                                         19   159 of the Complaint also need to be read in conjunction with the allegations in the
                                                                         20   Complaint as a whole. Palmiotto v. America’s Servicing Co., 2012 WL 12868482
                                                                         21   (S.D.Cal. 2012) (allegations of complaint should be viewed as a whole in light most
                                                                         22   favorable to plaintiff in motion to dismiss). Read in context, Plaintiff’s CLRA
                                                                         23   claim under Civil Code §1770(a)(16) may be properly construed to refer to
                                                                         24   AT&T’s representations that it would increase the protection afforded his account
                                                                         25   and its earlier representations (including in its privacy policy) that it would protect
                                                                         26   the privacy of his personal information.
                                                                         27
                                                                         28
                                                                                                                         16          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 23 of 31 Page ID #:272



                                                                          1         H.     Plaintiff Has Properly Plead Deceit By Concealment.
                                                                          2                1.     AT&T had a duty to speak.
                                                                          3         Plaintiff has properly alleged deceit by concealment because AT&T had
                                                                          4   exclusive knowledge of the fact that its security practices fell short of proper
                                                                          5   standards, including those mandated by the FCA, the FCC, and AT&T’s numerous
                                                                          6   written promises. See Complaint ¶¶ 22-51, 55-58, 70, 75-78.
                                                                          7         AT&T attempts to dismiss the deceit claim by claiming that it did not have
                                                                          8   exclusive knowledge because of publicity regarding SIM swaps which it claims
                                                                          9   indicates that such risks were broadly recognized.14 That claim has no merit
                                                                         10   because it involves a disputed issue of fact that cannot be resolved on a motion to
GREENBERG GLUSKER FIELDS CLAMAN




                                                                         11   dismiss. See In re Adobe Systems, Inc. Privacy Litigation, 66 F.Supp.3d 1197,
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                                                                         12   1230 (N.D.Cal. 2017) (court refused to dismiss Adobe’s claim that it did not have
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                                                                         13   exclusive knowledge because its poor security practices were widely known
                                                                         14   because “the exact nature of what was in the public domain regarding Adobe’s
                                                                         15   security practices is a question of fact not properly resolved on a motion to
                                                                         16   dismiss”). AT&T’s deceit also included concealment of the fact that it did not (and
                                                                         17   could not) provide adequate protection for Mr. Terpin’s personal information. See
                                                                         18   Complaint ¶¶ 166, 169 (AT&T failed to disclose “it was incapable of living up to
                                                                         19   its commitments to consumers” and that its employees “could readily bypass its
                                                                         20   procedures”).
                                                                         21         Plaintiff has properly alleged facts supporting such concealment at this stage
                                                                         22   by alleging that AT&T actively concealed the lack of efficacy of its security,
                                                                         23   including that provided by its so-called “higher security level.” Complaint ¶¶ 169-
                                                                         24
                                                                              14
                                                                                The “public articles” cited in the Complaint are irrelevant to the question of
                                                                         25   AT&T’s “exclusive knowledge” because they are all dated after the January 2018
                                                                              SIM swap. See Complaint ¶¶ 53-60 (citing articles from July 30, 2018, August 3,
                                                                         26   2018 and August 18, 2018). Moreover, AT&T’s conjecture that Terpin may have
                                                                              known of these risks (which it does not tie to any allegation in the Complaint) does
                                                                         27   not mean that he possessed AT&T’s knowledge—particularly since AT&T claimed
                                                                              that it was providing additional protection after the first SIM swap.
                                                                         28
                                                                                                                         17         OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 24 of 31 Page ID #:273



                                                                          1   172. Moreover, Plaintiff’s concealment claim is not defeated by statements by
                                                                          2   AT&T in its consumer agreements that it “does not guarantee security” and that “no
                                                                          3   security measures are perfect.”15 Plaintiff properly alleges that AT&T actively
                                                                          4   concealed the inadequacy of its protection of his personal information (including
                                                                          5   after the initial SIM swap fraud) by stating that the additional security would
                                                                          6   prevent such fraud in the future and by concealing the fact that its employees could
                                                                          7   override or ignore such additional security. Complaint ¶¶ 166, 169-70.
                                                                          8                2.    Plaintiff Has Properly Plead Reliance.
                                                                          9         Plaintiff has properly plead reliance by alleging that he continued to use
                                                                         10   AT&Ts services after the initial SIM swap fraud because AT&T actively concealed
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                                                                         11   the fact that the additional security that it promised would prevent future SIM fraud
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                                                                         12   was in fact ineffective, in part because these protections could be overridden or
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                                                                         13   ignored by its employees. Complaint ¶¶ 166-170. These allegations are more than
                                                                         14   sufficiently detailed to withstand a challenge under Fed. R. Civ. Proc. 9(b).
                                                                         15         Contrary to AT&T’s assertion, there is no “missing link” in these allegations.
                                                                         16   Profoundly shaken by the initial SIM swap fraud in June 2017, Mr. Terpin went to
                                                                         17   AT&T specifically to ask what protections could be placed on his account to
                                                                         18   prevent future fraud. Id. ¶ 66. AT&T representatives told Mr. Terpin that the
                                                                         19   additional security measures (including the six-digit code) would provide such
                                                                         20   protection. Id. ¶ 67. Mr. Terpin relied on these representations and continued to
                                                                         21   maintain his account with AT&T. Id. ¶¶ 68-69. If AT&T had not made such
                                                                         22   representations, he would have taken his business elsewhere. Id. ¶ 69.
                                                                         23         The fact that Mr. Terpin was aware of security risks (having been hacked
                                                                         24
                                                                         25   15
                                                                                AT&T’s general exculpatory statements are irrelevant to AT&T’s exclusive
                                                                              knowledge regarding its security procedures and protections. See Yahoo II, 313 F.
                                                                         26   Supp. at 1140 (Yahoo’s statement that “no data transmission over the Internet or
                                                                              information storage technology can be guaranteed to be 100% secure” “does not
                                                                         27   undercut Plaintiffs’ contention that Yahoo had ‘exclusive knowledge of material
                                                                              facts not known or reasonably exclusive to’ Plaintiffs”).
                                                                         28
                                                                                                                        18          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 25 of 31 Page ID #:274



                                                                          1   once) and was generally aware that his mobile phone could be hacked, does not
                                                                          2   mean that he did not rely on AT&T’s statements regarding additional security
                                                                          3   measures that it was putting on his account. Indeed, he had no knowledge that the
                                                                          4   additional measures were ineffective and could be easily evaded and would have
                                                                          5   terminated his AT&T account if he had had such knowledge. Id. ¶¶ 69-70.
                                                                          6         I.     Plaintiff Has Adequately Plead A Claim For Misrepresentation.
                                                                          7         In his Ninth Claim for Misrepresentation, Mr. Terpin alleges that he relied
                                                                          8   upon “numerous representations” in AT&T’s “Privacy Policies and COBC as well
                                                                          9   as in its advertising” regarding the protection of its customers’ personal
                                                                         10   information. Mr. Terpin further alleges that he also relied on statements by an
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                                                                         11   authorized AT&T employee after the initial SIM swap fraud when he “persuaded
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                                                                         12   Mr. Terpin not to cancel his service after the June 11, 2017 hack.” Complaint ¶¶
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                                                                         13   178-180. As alleged in the Complaint, those representations included those
                                                                         14   concerning the additional security (including the six-digit code) that AT&T was
                                                                         15   placing on Mr. Terpin’s account to prevent future SIM swap fraud. Id. ¶¶ 66-69.
                                                                         16         AT&T seeks to dismiss this claim because Plaintiff supposedly has not
                                                                         17   alleged reliance because he “does not allege that he read these documents at all,
                                                                         18   much less allege facts to describe when he supposedly became aware of the claimed
                                                                         19   misrepresentations.” Not only does this argument ignore the fact that Mr. Terpin
                                                                         20   alleges reliance based on specific statements made to him in person by AT&T
                                                                         21   representatives after the June 11, 2017 hack, but it sidesteps the fact that this
                                                                         22   alleged inadequacy is easily addressed in an amended pleading. See In re Yahoo!
                                                                         23   Inc. Customer Data Security Breach Litigation, 2017 WL 3727318 at *28
                                                                         24   (N.D.Cal. 2017) (“Yahoo I”) (allowing plaintiffs leave to amend claim to allege that
                                                                         25   read privacy policy and thus relied on representations).
                                                                         26         J.     Plaintiff’s Fraud and Negligence Claims Are Not Barred by the
                                                                         27                Economic Loss Doctrine.
                                                                         28         The economic loss doctrine, which Defendant raises as a defense to
                                                                                                                         19          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 26 of 31 Page ID #:275



                                                                          1   Plaintiff’s fraud and negligence claims (Claims 8-12) bars recovery of “purely
                                                                          2   economic losses . . . in tort.” NuCal Foods, Inc. v. Quality Egg LLC, 918 F.Supp.
                                                                          3   2d 1023, 1028 (E.D.Cal. 2013). However, Plaintiff’s fraud and negligence claims
                                                                          4   are not barred by the economic loss rule because there is a “special relationship”
                                                                          5   between Plaintiff and Defendant. See J’Aire Corp. v. Gregory, 24 Cal. 3d 799
                                                                          6   (1979) (“J’Aire”).
                                                                          7         The J’Aire exception applies to contracts for services (as opposed to goods).
                                                                          8   North American Chemical Co. v. Superior Court, 59 Cal. App. 4th 764, 781-84
                                                                          9   (1997). In this case, there is no doubt that the contract at issue involved “services.”
                                                                         10   See Section II(G)(2), supra. Moreover, the J’Aire exception applies here because
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                                                                         11   the six factors establishing a “special relationship” are all found in this case. 16
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                                                                         12         The court in Yahoo II concluded that the J’Aire exception applied to the
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                                                                         13   Yahoo data breach. Yahoo II, 313 F. Supp. 3d at 1132. Based on the similar facts
                                                                         14   of this case, the Court should reach the same conclusion. First, as in Yahoo II, the
                                                                         15   contract between the parties for mobile phone services inevitably exposed
                                                                         16   Plaintiff’s personal information (including CPI and CPNI) in return for Defendant’s
                                                                         17   promise to adequately protect such information. Complaint ¶¶ 107-108. Second,
                                                                         18   “it was plainly foreseeable that Plaintiff[] would suffer injury if Defendant[] did not
                                                                         19   adequately protect the [personal information].” Yahoo II at 1132; Complaint at ¶¶
                                                                         20   26-44, 55-58, 66-68. Third, the Complaint in this case asserts that hackers gained
                                                                         21   access to Plaintiff’s personal information, thereby causing injury to Plaintiff. Id. ¶¶
                                                                         22   72-77. Fourth, “the injury was allegedly suffered because Defendant[] provided
                                                                         23   inadequate security and knew that [its] system was insufficient.” Yahoo II at 1132;
                                                                         24   Complaint at ¶¶ 56-57, 75-77. Fifth, Defendant “knew [its] data security was
                                                                         25
                                                                              16
                                                                                The factors are “(1) the extent to which the transaction was intended to affect the
                                                                         26   plaintiff, (2) the foreseeability of harm to the plaintiff, (3) the degree of certainty
                                                                              that the plaintiff suffered injury, (4) the closeness of the connection between the
                                                                         27   defendant’s conduct and the injury suffered, (5) the moral blame attached to the
                                                                              defendant’s conduct and (6) the policy of preventing future harm.” J’Aire, 24 Cal.
                                                                         28   3d at 804.
                                                                                                                          20          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 27 of 31 Page ID #:276



                                                                          1   inadequate. . .” Yahoo II at 1132; Complaint ¶ 70. Sixth, Defendant’s “concealment
                                                                          2   of [its] knowledge and failure to adequately protect Plaintiff[‘s] [personal
                                                                          3   information] implicates the consumer data protection concerns expressed in
                                                                          4   California statutes, such as the CRA and CLRA.” Yahoo II at 1132; Complaint ¶¶
                                                                          5   77, 125-26, 128-29, 137-38, 149, 158, 161-62.
                                                                          6         K.        Plaintiff Has Adequately Plead Breach of Implied Contract.
                                                                          7         In the alternative to its express breach of contract claim, Plaintiff has alleged
                                                                          8   breach of an implied contract. Although Defendant attempts to dismiss such claim
                                                                          9   on plausibility grounds, it advances no argument as to why such an agreement may
                                                                         10   not be alleged in the alternative to an express contact.
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                                                                         11         It is well established that “[w]hether the implied contract exists is a question
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                                                                         12   of fact for the jury, and California courts have been exceedingly unwilling to take
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                                                                         13   the question of whether such an agreement exists from the jury.” See Grigsby v.
                                                                         14   Universal Foods Corp., 999 F.2d 543 (9th Cir. 1993); see also Luck v. Southern
                                                                         15   Pac. Transp., 218 Cal. App. 3d 1 (1990). Under such binding precedent, Plaintiff
                                                                         16   has adequately alleged an implied breach of contract claim for the purposes of a
                                                                         17   motion to dismiss.
                                                                         18         L.        Plaintiff has Adequately Alleged a Claim for Breach of the Implied
                                                                         19                   Covenant of Good Faith and Fair Dealing.
                                                                         20         Defendant alleges that Plaintiff’s claim for breach of the covenant of good
                                                                         21   faith and fair dealing should be dismissed because it is superfluous since it does not
                                                                         22   allege any actions beyond the breach of the parties’ contract. This argument raises
                                                                         23   factual issues that cannot be determined on a motion to dismiss. See U.S. ex rel.
                                                                         24   Innovative Const. Solutions-Norcal v. CH2M Hill Constructors, Inc., 2014 WL
                                                                         25   6610999 at *5 (E.D.Cal. Nov. 19, 2014) (“whether or not a breach of the implied
                                                                         26   covenant is duplicative of a contract is more appropriately addressed at summary
                                                                         27   judgment as opposed to the more liberal standard applicable to the present motion
                                                                         28   to dismiss”).
                                                                                                                         21         OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 28 of 31 Page ID #:277



                                                                          1            Plaintiff’s Thirteenth Claim for Relief (which is not challenged in the Motion
                                                                          2   to Dismiss) is founded entirely on the breach of AT&T’s Privacy Policy.
                                                                          3   Complaint ¶¶ 217-223. Citing numerous particular provisions of the Privacy Policy
                                                                          4   and privacy policies in the COBC, Plaintiff alleges in that claim that Defendant
                                                                          5   breached those provisions and harmed Mr. Terpin by not having proper safeguards
                                                                          6   in place to protect Mr. Terpin’s personal information, including CPI and CPNI. Id.
                                                                          7   ¶ 220.
                                                                          8            Plaintiff’s Fifteenth Claim for Relief raises claims beyond the breach of
                                                                          9   contract claim by alleging that Defendant breached the covenant of good faith and
                                                                         10   fair dealing by “(a) not implementing security measures adequate to protect his
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                                                                         11   Personal Information; (b) improperly hiring, training and supervising its employees;
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                                                                         12   (c) not adhering to its own security standards, including the ‘high security’
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                                                                         13   standards for ‘high profile’ or ‘celebrity’ account holders; and (d) failing to invest
                                                                         14   in adequate security protections.” Complaint ¶ 231. These additional allegations
                                                                         15   are sufficient to distinguish the breach of implied covenant claim from the breach of
                                                                         16   contract claim.
                                                                         17            M.    The Customer Records Act Claim Is Properly Alleged.
                                                                         18            Plaintiff has properly alleged a claim under Cal. Civ. Code § 1798.81.5(b)
                                                                         19   (the California Customer Records Act (“CRA”)) because it alleges that AT&T
                                                                         20   allowed hackers to access the Personal Information of Mr. Terpin. The CRA’s
                                                                         21   definition of “Personal Information” § 1798.81.5(d)(1)(A) includes an individual’s
                                                                         22   first name or first initial and his or her last name in combination with other data
                                                                         23   elements including “[a]ccount number, credit or debit card number, in combination
                                                                         24   with any required security code, access code, or password that would permit access
                                                                         25   to an individual’s financial account.” Subsection B of this same provision also
                                                                         26   includes “[a] username or email address in combination with a password or security
                                                                         27   question and answer that would permit access to an online account.”
                                                                         28            As alleged in the Complaint, the SIM swap fraud involves “Personal
                                                                                                                          22         OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 29 of 31 Page ID #:278



                                                                          1   Information” under the CRA. Complaint ¶¶ 76-77, 107, 237. The Complaint
                                                                          2   alleges that the hackers were able to port Mr. Terpin’s number to a phone under
                                                                          3   their control to gain access to security and access codes or passwords and/or
                                                                          4   usernames or e-mail addresses in combination with passwords or security
                                                                          5   information to gain access to online accounts. Id ¶¶ 73, 76, 107-108. Under
                                                                          6   Section 222(a) of the Federal Communications Act, AT&T had an explicit statutory
                                                                          7   obligation to protect such information, which falls within the FCC’s definition of
                                                                          8   “Personal Information” and “customer proprietary information.” See Section II(C),
                                                                          9   above. This is sufficient for the purposes of the CRA. 17
                                                                         10         N.     The Punitive Damages Claim Should Not Be Stricken.
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                                                                         11                1.    Plaintiff has adequately plead he is entitled to punitive damages.
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                                                                         12         Defendant claims that Plaintiff’s punitive damages claim should be stricken
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                                                                         13   because Plaintiff has not alleged that the employee conduct referenced in the
                                                                         14   Complaint was directed or ratified by AT&T’s officers, directors or managing
                                                                         15   agents. Because issues relating to ratification of employee conduct are
                                                                         16   quintessentially factual, they cannot be resolved on a motion to dismiss. See Siva v.
                                                                         17   General Tire & Rubber Co., 146 Cal App. 3d 152, 159 (1983) (“[r]atification is a
                                                                         18   fact question and may be proved by circumstantial evidence.”). In addition, the
                                                                         19   question of whether an individual is a managing agent or has been authorized by an
                                                                         20   employer is a “fact-intensive inquiry.” Paterson v. California Dept. of General
                                                                         21   Services, 2008 WL 4737118 at *4 (E.D.Cal. 2008). Given the factual nature of the
                                                                         22   inquiry, punitive damages may only be barred at the motion to dismiss stage where
                                                                         23   they are unavailable as a matter of law. See, e.g., Rios v. City of Bakersfield, 2011
                                                                         24   WL 5554506 at *6 (E.D.Cal. 2011) (dismissing punitive damages claim against
                                                                         25   municipality because such damages are precluded as a matter of law). That is not
                                                                         26
                                                                         27   17
                                                                                This result is not contradicted by Yahoo II, 313 F.Supp.3d at 1144-45 which dealt
                                                                              with the pre-2016 definition in the CRA of “personal information” which did not
                                                                         28   reference users’ passwords and security questions.
                                                                                                                        23          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 30 of 31 Page ID #:279



                                                                          1   the case here.
                                                                          2         Plaintiff has properly alleged a basis for punitive damages. In great detail, he
                                                                          3   has alleged the history of the initial SIM swap fraud, including informing AT&T
                                                                          4   that he had been a victim of hacking to his mobile account and the promises made
                                                                          5   by AT&T employees to provide him with additional protection to prevent such
                                                                          6   fraud in the future. Complaint ¶¶ 65-69. AT&T was under both a statutory
                                                                          7   obligation and a duty imposed by the FCC in the Consent Decree to protect the
                                                                          8   personal information of its customers against fraud. Id. ¶¶ 22-44. AT&T was
                                                                          9   aware that its employees could bypass protections and in certain instances acted
                                                                         10   with hackers to turn over its customers’ personal information. Id. ¶¶ 55-57, 70.
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                                                                         11   Moreover, AT&T’s top executives pledged in the COBC to protect customers’
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                                                                         12   personal information. Id. ¶¶ 48-50. AT&T consciously disregarded those
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                                                                         13   obligations in either failing to supervise its employees or setting up a system where
                                                                         14   employees could readily bypass account protections. Id. ¶¶ 57, 70,192-198.
                                                                         15         Plaintiff’s allegations sufficiently allege a basis for punitive damages beyond
                                                                         16   the allegedly “conclusory” allegations of the claims themselves. See ExxonMobil
                                                                         17   Oil Corporation v. Southern California Edison Co., 2013 WL 12166214 at *3
                                                                         18   (C.D.Cal. 2013) (holding that complaint that “extensively alleges the history of past
                                                                         19   outages and litigations” sufficiently and plausibly alleged punitive damages); Khan
                                                                         20   v. 7-Eleven, Inc., 2015 WL 12743691 (C.D.Cal. 2015) (finding that allegations of
                                                                         21   conduct of 7-Eleven employee taken in the light most favorable to plaintiff
                                                                         22   sufficiently alleged punitive damages under Iqbal).
                                                                         23         Considering the allegations of the Complaint as a whole, Plaintiff’s
                                                                         24   allegations also support Plaintiff’s contention that AT&T had the requisite mental
                                                                         25   state and acted with malice, fraud and oppression. Construing the allegations of the
                                                                         26   Complaint in the light most favorable to Plaintiff (which the Court is required to
                                                                         27   do), the allegations show that AT&T acted with fraud, malice and oppression in
                                                                         28   violating its statutory duties under Section 222(a) of the FCA and in its actions
                                                                                                                        24          OPPOSITION TO MOTION TO DISMISS
                                                              Case 2:18-cv-06975-ODW-KS Document 19 Filed 11/05/18 Page 31 of 31 Page ID #:280



                                                                          1   specifically to Mr. Terpin.18
                                                                          2                2.     Punitive Damages are Proper for Claims 10-12, and 15-16.
                                                                          3          Under Yahoo II (which Defendant also cites), the Court should not dismiss
                                                                          4   Plaintiff’s punitive damage requests for its claims for negligence (Claim 10),
                                                                          5   negligent supervision and hiring (Claim 11), and negligent hiring (Claim 12). 19 As
                                                                          6   the Court in Yahoo II properly observed, “ʻeven where the claim formally sounds in
                                                                          7   negligence, if the plaintiff can make a showing that defendant’s conduct goes
                                                                          8   beyond gross negligence and demonstrates a knowing and reckless disregard,
                                                                          9   punitive damages may be available.’” Yahoo II at 1149, quoting Simplicity Int’l v.
                                                                         10   Genlabs Corp., 2010 WL 11515296, at *2 (C.D.Cal. Apr. 21, 2010).
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                                                                         11          Like Yahoo II, Plaintiff in this litigation has “alleged numerous fraudulent,
                                  Los Angeles, California 90067-4590
                                  1900 Avenue of the Stars, 21st Floor




                                                                         12   malicious, and oppressive acts on the part of Defendant[],” including those cited in
       & MACHTINGER LLP




                                                                         13   Complaint ¶¶ 125, 134, 146, 166-168, 178, 197-198. The Court should therefore
                                                                         14   not dismiss the punitive damages requests for Claims 10-12.
                                                                         15   III.   CONCLUSION
                                                                         16          For the foregoing reasons, the Court should deny Defendant’s Motion to
                                                                         17   Dismiss or, in the alternative, provide Plaintiff with leave to amend.
                                                                         18
                                                                              DATED: November 5, 2018                GREENBERG GLUSKER FIELDS
                                                                         19                                          CLAMAN & MACHTINGER LLP
                                                                         20
                                                                                                                     By:/s/ Pierce O’Donnell
                                                                         21                                             PIERCE O’DONNELL (SBN 081298)
                                                                                                                        Attorneys for Plaintiff MICHAEL
                                                                         22                                             TERPIN
                                                                         23
                                                                         24
                                                                         25   18
                                                                                In the event that the Court finds that additional facts are necessary to allege
                                                                              punitive damages, Plaintiff respectfully requests leave to amend the Complaint.
                                                                         26
                                                                              19
                                                                                Plaintiff will not seek punitive damages for its claim for the breach of the
                                                                         27   covenant of good faith and fair dealing (Claim 15) and its claim for violation of the
                                                                              California Customer Records Act (Claim 16). See Yahoo II at 1149-50.
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                                                                                                                        25          OPPOSITION TO MOTION TO DISMISS
